Case 2:11-cr-00114-RMP   ECF No. 252   filed 02/22/13   PageID.948 Page 1 of 6
Case 2:11-cr-00114-RMP   ECF No. 252   filed 02/22/13   PageID.949 Page 2 of 6
Case 2:11-cr-00114-RMP   ECF No. 252   filed 02/22/13   PageID.950 Page 3 of 6
Case 2:11-cr-00114-RMP   ECF No. 252   filed 02/22/13   PageID.951 Page 4 of 6
Case 2:11-cr-00114-RMP   ECF No. 252   filed 02/22/13   PageID.952 Page 5 of 6
Case 2:11-cr-00114-RMP   ECF No. 252   filed 02/22/13   PageID.953 Page 6 of 6
